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                                         UNITED STATES DISTRICT COURT
                                         NORTHERN DISTRICT OF CALIFORNIA




    A        Aen    MA Aan ann
                                                  ,             Case No. C 4:21-cv-07328-SBA
        ww

   Andres Gomez,»

                                 Plaintiff(s)
    v.                                                          NOTICE REQUESTING CASE
                                                                MANAGEMENT CONFERENCE
    Judith         M Naimo,                       ,             (ADA ACCESS CASES)
                                 Defendant(s)



   The mediation process is concluded, and the case is not settled. Plaintiff requests the Court set a
   Case Management Conference.
   Date:           NAIALINAYNY
                   09/06/2022                                   /s/Prathima Reddy Price
                                                      Signed:
                                                                          Attorney for Plaintiff(s)




Important! E-file this form in ECF using event name: “Notice Requesting Case Management Conference – ADA Access
   Cases Only”

   Form GO 56-Notice Requesting Case Management Conference – new 01-2020
